           IN THE DISTRICT COURT OF THE UNITED STATES
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       CHARLOTTE DIVISION

                      CRIMINAL CASE NO. 3:01cr216-11


UNITED STATES OF AMERICA, )
                          )
                          )
             vs.          )                           ORDER
                          )
                          )
GERALD LAMONT STEELE.     )
                          )



      THIS MATTER is before the Court on the Defendant’s pro se Motion

for Reduction of Sentence Based on Application of Retroactive Applicable

Amendment [Doc. 259, filed March 14, 2008] and his Motion to Reduce

Sentence filed by counsel [Doc. 285, filed November 14, 2008].

      As stated by the Probation Office in the Supplement to the

Presentence Report pursuant to Crack Cocaine Guideline Amendment, the

Defendant faced a statutory mandatory minimum sentence of 240 months

due to a prior felony drug conviction for which the Government filed notice

pursuant to 21 U.S.C. §851.1 [Doc. 289]. Although the sentencing court


      1
         The §851 notice in this case was contained within the body of the indictment.
[Doc. 3,].


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departed downward from that mandatory sentence pursuant to U.S.S.G.

§5K1.1 and 18 U.S.C. §3553(e), the notice pursuant to §851 was never

withdrawn. As a result, the Defendant’s sentence was based on the

mandated statutory minimum sentence, not a sentencing range authorized

by the Sentencing Guidelines section setting forth offense levels for crack

cocaine. United States v. Hood,     F.3d     , 2009 WL 416979 (4th Cir.

2009). Thus, the Defendant is not entitled to a reduced sentence under 18

U.S.C. §3582(c)(2) which authorizes modification of a sentence based on a

sentencing range subsequently lowered by the Sentencing Commission.

Id. Indeed, if Amendment 706 had been in place at the original sentencing,

the guideline sentence would have remained the statutory mandatory

minimum. Id. Therefore the amendment has no impact on the

Defendant’s sentence. Id.

     IT IS, THEREFORE, ORDERED that the Defendant’s pro se Motion

for Reduction of Sentence Based on Application of Retroactive Applicable

Amendment [Doc. 259] and his Motion to Reduce Sentence [Doc. 285] are

hereby DENIED.                       Signed: April 6, 2009




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